     Case 1:04-cr-00006-MW-GRJ           Document 480          Filed 05/18/05   Page 1 of 1


                                                                                       Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:04-cr-00006-MP-AK

DENNIS BUTLER,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 478, Unopposed Motion to Continue Sentencing

Hearing as to Dennis Butler, filed by the government. The motion is granted, and the

sentencing is hereby reset for August 18, 2005 at 10:00 a.m.


       DONE AND ORDERED this 18th day of May, 2005


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
